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                      Exhibit 2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

Jn re:                                                       Chapter 11

ALLIED SYSTEMS HOLDINGS, INC.,                               Case No. 12-11564 (CSS)

                          Alleged Debtor.                   Re: Docket No. 1



In re:                                                       Chapter 11

ALLIED SYSTEMS, LTD. (L.P.),                                 Case No. 12-11565 (CSS)

                          Alleged Debtor.                    Re: Docket No. 1



                          CERTIFICATION OF COUNSEL REGARDING
                         ORDER FOR RELIEF IN INVOLUNTARY CASES

          The undersigned counsel to the above-captioned alleged debtors (collectively, the

 "Alleged Debtors") hereby certifies as follows:

          1.        On May 17, 2012, the , BDCM Opportunity Fund II, LP, Black Diamond CLO

 2005-1 Adviser, L.L.C, and Spectrum Investment Partners LP (collectively, the "Petitioning

 Creditors") filed involuntary chapter 11 petitions (the "Petitions") against the Alleged Debtors.

          2.        The Alleged Debtors have not filed pleadings or other defenses to the Petitions.

 Further, on June 10, 2012, certain U.S. and Canadian affiliates of the Alleged Debtors

 commenced voluntary chapter 11 petitions, commencing voluntary chapter 11 cases.

          3.        At this time, the Alleged Debtors have consented to the entry of an order for relief

 approving the relief sought in the Petitions, a proposed form of which (the "Proposed Order for

 Relief') is attached hereto as Exhibit A. The Proposed Order for Relief has been circulated to,

 and approved by, counsel for the Petitioning Creditors.




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         WHEREFORE, the undersigned counsel to the Alleged Debtors respectfully requests that

the Court enter the Proposed Order for Relief, substantially in the form attached hereto as

Exhibit A, at the Court's earliest convenience.

Dated:    June 10, 2012
          Wilmington, Delaware
                                             Respectfully submitted,

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                                             Counsel for Alleged Debtors




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                                 Exhibit A




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

ALLIED SYSTEMS HOLDINGS, INC.,                          Case No. 12-11564 (CSS)

                      Alleged Debtor.                   Re: Docket Nos. 1 &



In re:                                                  Chapter 11

ALLIED SYSTEMS, LTD. (L.P.),                            Case No. 12-11565 (CSS)

                      Alleged Debtor.                   Re: Docket Nos. l &



                     ORDER FOR RELIEF IN INVOLUNTARY CASES

         On consideration of the petitions filed on May 17, 2012 against the above-captioned

 alleged debtors (the "Alleged Debtors"), the Alleged Debtors having not filed a pleading or

 other defense to the petitions, the Alleged Debtors having consented to the relief requested, and

 for reasons announced on the record at the hearing on June 11, 2012, an order for relief under

 chapter 11 ohitle 11 of the United States Code is granted in the above-captioned cases.

 Dated: June_, 2012
        Wilmington, Delaware

                                        THE HONORABLE CHRISTOPHER S. SONTCHI
                                        UNITED STATES BANKRUPTCY JUDGE
